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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT TACOMA
6
7      JOHN DOE et al.,
                                                    CASE NO.
8                                                   3:23−cv−05320−TLF
                                    Plaintiff(s),
9                         v.                        ORDER REGARDING INITIAL
                                                    DISCLOSURES, JOINT STATUS
10                                                  REPORT, AND EARLY
       PIERCE COUNTY HOUSING
       AUTHORITY,                                   SETTLEMENT
11
12                                Defendant(s).

13                             I. INITIAL SCHEDULING DATES
14         The Court sets the following dates for initial disclosure and submission of the

15   Joint Status Report and Discovery Plan:

16
                Deadline for FRCP 26(f) Conference:                        7/31/2023
17
                Initial Disclosures Pursuant to FRCP 26(a)(1):             8/7/2023
18
                Combined Joint Status Report and Discovery
19              Plan as Required by FRCP 26(f)
                and Local Civil Rule 26(f):                                8/14/2023
20
21         The deadlines above may be extended only by the Court. Any request for an
22   extension should be made by email to Gayle M Riekena, Courtroom Deputy, at
23   gayle_riekena@wawd.uscourts.gov. If Defendants have appeared, the parties are
24   directed to meet and confer before contacting the Court to request an extension.
25         If this case involves claims which are exempt from the requirements of FRCP
26   26(a) and 26(f), please notify Gayle M Riekena, Courtroom Deputy, by email at
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1    gayle_riekena@wawd.uscourts.gov.
2                        II. ASSIGNMENT TO MAGISTRATE JUDGE
3          This case has been initially assigned to Magistrate Judge Theresa L. Fricke. This

4    assignment will become final only if all parties consent to the jurisdiction of the

5    Magistrate Judge.

6          This District has adopted an "opt out" procedure for assignment of civil cases

7    to a Magistrate Judge. See Amended General Order 02−19 dated April 5, 2019, available

8    on the Court's website, https://www.wawd.uscourts.gov/general−orders−current.

9          Before all parties have entered a notice of appearance or have otherwise

10   appeared, any parties may notify Gayle M Riekena, Courtroom Deputy, by email at

11   gayle_riekena@wawd.uscourts.gov, to opt out of the assignment to the Magistrate Judge.

12         After all parties have entered a notice of appearance or have otherwise

13   appeared, the Court will send a "Declination of Consent" notice to each party. In

14   accordance with the Amended General Order 02−19, each party will have seven days

15   from the date of the "Declination of Consent" notice to decide whether to opt out. If they

16   do not opt out, then upon expiration of the 7−day period they will be deemed to have

17   consented to the jurisdiction of the Magistrate Judge.

18         If any party opts out of the assignment to the Magistrate Judge, then pursuant to

19   Amended General Order 02−19, the case will be assigned to a District Court Judge.

20   If a party decides to opt out, the Magistrate Judge will not have access to any

21   information that would identify any party or parties that opted out. Regardless of whether

22   any party opts out, all parties will be required to meet the deadlines stated above,

23   and follow the procedures described below.

24                   III. JOINT STATUS REPORT & DISCOVERY PLAN

25         All counsel and any pro se parties are directed to confer and provide the Court

26   with a combined Joint Status Report and Discovery Plan (the "Report") by

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1    Monday, August 14, 2023. This conference shall be by direct and personal
2    communication, preferably a face−to−face meeting, but may be by a telephonic
3    conference. The Report will be used to set a schedule for the prompt completion of the
4    case.
5             The Report must contain the following information by corresponding
6    paragraph numbers:
7             1. A statement of the nature and complexity of the case.
8             2. A proposed deadline for joining additional parties.
9             3. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
10   the parties' views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which
11   includes the following topics:
12                (A) initial disclosures;
13                (B) subjects, timing, and potential phasing of discovery;
14                (C) electronically stored information;
15                (D) privilege issues;
16                (E) proposed limitations on discovery; and
17                (F) the need for any discovery related orders.
18           4.   The parties' views, proposals, and agreements, by corresponding paragraph
19   letters (A, B, etc.), on all items set forth in Local Civil Rule 26(f)(1), which includes the
20   following topics:
21                (A) prompt case resolution;
22                (B) alternative dispute resolution;
23                (C) related cases;
24                (D) discovery management;
25                (E) anticipated discovery sought;
26                (F) phasing motions;

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1              (G) preservation of discoverable information;
2              (H) privilege issues;
3              (I) Model Protocol for Discovery of ESI; and
4              (J) alternatives to Model Protocol.
5         5.   The date by which discovery can be completed.
6         6.   Whether the case should be bifurcated by trying the liability issues before
7    the damages issues, or bifurcated in any other way.
8         7.   Whether the pretrial statements and pretrial order called for by Local Civil
9    Rules 16(e), (h), (i), and (k), and 16.1 should be dispensed with in whole or in part for the
10   sake of economy.
11        8.   Whether the parties intend to utilize the Individualized Trial Program set
12   forth in Local Civil Rule 39.2 or any ADR options set forth in Local Civil Rule 39.1.
13        9.   Any other suggestions for shortening or simplifying the case.
14        10. The date the case will be ready for trial. The Court expects that most civil
15   cases will be ready for trial within a year after filing the Joint Status Report and
16   Discovery Plan.
17        11. Whether the trial will be jury or non−jury.
18        12. The number of trial days required.
19        13. The names, addresses, and telephone numbers of all trial counsel.
20        14. The dates on which the trial counsel may have complications to be
21   considered in setting a trial date.
22        15. If, on the due date of the Report, all defendant(s) or respondents(s) have not
23   been served, counsel for the plaintiff shall advise the Court when service will be
24   effected, why it was not made earlier, and shall provide a proposed schedule for the
25   required FRCP 26(f) conference and FRCP 26(a) initial disclosures.
26        16. Whether any party requests a pretrial Fed. R. Civ. P. 16 conference with

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1    the Judge before entry of any order under Rule 16 or setting the schedule in the case.
2    If any party requests such a conference, indicate whether the request is for an in−person
3    conference, or by phone.
4         17. List the date(s) that each and every nongovernmental corporate party filed
5    its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.1.
6          If the parties are unable to agree on any part of the Report, they may answer in
7    separate paragraphs. No separate reports are to be filed. If the parties wish to have a
8    status conference with the Court at any time during the pendency of this action, they
9    should notify Gayle M Riekena by email at gayle_riekena@wawd.uscourts.gov.
10                             IV. PLAINTIFF'S RESPONSIBILITY
11         This Order is issued at the outset of the case, and a copy is sent by the clerk to

12   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

13   Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order

14   on all parties who appear after this Order is filed. Such service shall be accomplished

15   within ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se)

16   will be responsible for starting the communications needed to comply with this Order.

17                  V. JUDGE SPECIFIC PROCEDURAL INFORMATION

18         All counsel and unrepresented parties should review Judge Fricke's web page

19   for procedural information applicable to cases before Judge Fricke. The judges' web

20   pages, in addition to the Local Rules, Electronic Filing Procedures for Civil and

21   Criminal Cases, court forms, instruction sheets, and General Orders, can be found on

22   the Court's website at www.wawd.uscourts.gov.

23         VI. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
           If settlement is achieved, counsel shall immediately notify Gayle M Riekena,
24
     Courtroom Deputy, at gayle_riekena@wawd.uscourts.gov.
25
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26

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1          Each of the parties is responsible for complying with the terms of this Order.
2    The Court may impose sanctions on any party that fails to fully comply with this Order.
3
           DATED: The 16th of May 2023
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6                                                  s/ Theresa L. Fricke
                                                  THERESA L. FRICKE
7                                                 United States Magistrate Judge
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